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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES -- GENERAL

Case No.        CV 22-4355-JFW(JEMx)                                               Date: August 15, 2023

Title:          Yuga Labs, Inc. -v- Ripps, et al.

PRESENT:
               HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                Shannon Reilly                                    None Present
                Courtroom Deputy                                  Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                       ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                    None

PROCEEDINGS (IN CHAMBERS):                    ORDER RE: POST TRIAL FINDINGS OF FACT AND
                                              CONCLUSION OF LAW

      Counsel for each party shall file and serve Proposed Post Trial Findings of Fact and
Conclusions of Law on or before August 28, 2023. For each proposed fact, counsel shall cite to
the specific evidence, and provide a citation to the trial transcript of the specific evidence, that
supports that fact. For each proposed conclusion of law, counsel shall provide authority that
supports that conclusion.

         Counsel for each party shall then:

      (1) Underline in red the portions of the opposing party’s Post Trial Findings of Fact and
Conclusions of Law that it disputes;

         (2) Underline in blue the portions that it admits; and

         (3) Underline in yellow the portions that it does not dispute, but deems irrelevant.

      Counsel may agree with a part of a finding or conclusion, disagree with a part of it, and/or
consider a part of it irrelevant.

       One marked copy of opposing counsel’s Proposed Post Trial Findings of Fact and
Conclusions of Law shall be filed with the Court on or before September 5, 2023 and one marked
copy shall be served on opposing counsel. After the marked copies are filed, lead counsel for the
parties shall meet and confer in person to resolve the disputed Post Trial Findings of Fact and
Conclusions of Law. After the conference, counsel shall file separate Joint Statements on or
before September 26, 2023 in the following format:


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1.    Joint Statement re: Plaintiff’s Post Trial Findings of Fact and Conclusions of Law
      (Plaintiff’s Proposed Post Trial Findings of Fact, Defendants’ Basis for Dispute, Plaintiff’s
      Responses, and Defendants’ Replies)

                    Plaintiff’s Disputed Post Trial Finding of Fact No.       :
                    [State the entire disputed finding of fact]

                    Defendants’ Basis for Dispute:
                    [E.g., Defendants dispute the proposed finding as unsupported by the
                    cited evidence because....]

                    Plaintiff’s Response:

                    Defendants’ Reply:

                                               iiii

2.    Joint Statement re: Defendants’ Post Trial Findings of Fact and Conclusions of Law
      (Defendants’ Proposed Post Trial Findings of Fact , Plaintiff’s Basis for Dispute, Defendants’
      Responses and Plaintiff’s Replies)

                    Defendants’ Disputed Post Trial Finding of Fact No.           :
                    [State the entire disputed finding of fact]

                    Plaintiff’s Basis for Dispute:
                    [E.g., Plaintiff disputes the proposed finding as unsupported by the cited
                    evidence because....]

                    Defendants’ Response:

                    Plaintiff’s Reply:

      Counsel shall attach a copy of the marked up versions of the Post Trial Findings of Fact and
Conclusion of Law to the Joint Statements as Exhibits.

      IT IS SO ORDERED.




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